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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                    ENTERED
                        UNITED STATES DISTRICT COURT                           February 20, 2024
                                                                               Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

DAVID SOLIZ,                                §
                                            §
        Plaintiff,                          §
                                            §
VS.                                         §              Civil Case No. 4:22-CV-03888
                                            §
PHH MORTGAGE CORPORATION                    §
and OCWEN LOAN SERVICING, LLC,              §
                                            §
        Defendants.                         §

                                        ORDER

       Pending before the Court is Second Joint Motion For Trial Continuance And To

Amend The Scheduling Order. (Dkt. No. 20). After reviewing the Motion, the Response,

the record and the applicable law, the Court is of the opinion that it should be

GRANTED.

       The disposition of this case will be controlled by the following schedule:

1.     May 16, 2024               PRETRIAL MOTIONS DEADLINE
                                  (except for motions in limine)
                                  No motion may be filed after this date except for good
                                  cause.

2.     June 14, 2024              MEDIATION OR SETTLEMENT CONFERENCE
                                  Mediation or other form of dispute resolution must be
                                  completed by this deadline.

3.     September 26, 2024         JOINT PRETRIAL ORDER AND MOTION IN
                                  LIMINE DEADLINE
                                  The Joint Pretrial Order will contain the pretrial
                                  disclosures required by Rule 26(a)(3) of the Federal
                                  Rules of Civil Procedure. Use the forms provided on
                                  the Court’s website. https://www.txs.uscourts.gov/
                                  page/united-states-district-judge-drew-b-tipton.
                                  Plaintiff is responsible for timely filing the complete
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                                   Joint Pretrial Order. Failure to do so may lead to
                                   dismissal or other sanction in accordance with the
                                   applicable rules. Exhibit lists, witness lists and
                                   proposed deposition excerpts may not be amended or
                                   supplemented after this date unless by agreement.
                                   Objections to any of these shall be filed no later than
                                   three business days after this date and responses to
                                   those objections shall be filed no later than six business
                                   days from this date.

4.     October 10, 2024            DOCKET CALL
                                   Docket Call will be held at 2:00 p.m. The Court will not
                                   consider documents filed within seven days of docket
                                   call. The Court may rule on pending motions at docket
                                   call and will set the case for trial as close to docket call
                                   as practicable.

        Any party wishing to make a discovery or scheduling motion must obtain
permission before the submission of motion papers. This includes any motion to compel,
to quash, for protection, or for extension. Lead counsel must personally confer on all
discovery and scheduling disputes as a final attempt at resolution prior to involving the
Court. To obtain permission, the party seeking relief must submit a letter not exceeding
two pages. Identify the nature of the dispute, outline the issues, and state the contested
relief sought. Describe the conference between lead counsel and summarize the results.
Send a copy to all counsel and unrepresented parties. The opposing party should
promptly submit a responsive letter of similar length identifying any disagreement. Do
not submit a reply letter. The foregoing letters should be sent by email to the Court’s case
manager, Kellie Papaioannou at Kellie_Papaioannou@txs.uscourts.gov.

       It is SO ORDERED.

       Signed on February 19, 2024.


                                                  ___________________________________
                                                            DREW B. TIPTON
                                                  UNITED STATES DISTRICT JUDGE




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